                                                            IT IS ORDERED
                                                            Date Entered on Docket: June 4, 2020




                                                           ________________________________
                                                           The Honorable Robert H Jacobvitz
                                                           United States Bankruptcy Judge
______________________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO
  In re:

  PROCOPIO JOHN GONZALES and
  DELLA M. GONZALES,

           Debtors.                                                          Case No. 20-10678-j7

            ORDER GRANTING MOTION TO MODIFY THE AUTOMATIC STAY
            PURSUANT TO 11 U.S.C. § 362(d)(1) AND FOR THE ABANDONMENT
                   OF PROPERTY PURSUANT TO 11 U.S.C. § 554(b)

           THIS MATTER came before the Court on the motion (the “Motion”) of Southwest

  Capital Bank (“Creditor”), by and through its counsel, the Giddens & Gatton Law, P.C. (Chris

  M. Gatton), to modify the automatic stay embodied in 11 U.S.C. § 362(a) to allow Creditor to

  exercise all remedies available under non-bankruptcy law relating to Promissory Note dated June

  24, 2016 (the “Note”), secured by certain of the Debtors’ vehicles (the “Property”). Creditor also

  sought abandonment of the Property from the estate pursuant to 11 U.S.C. § 554(b). Creditor

  represents and the Court now FINDS:

           1.     The Motion was filed on May 7, 2020 (“Docket No. 16).




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       2.       Notice of the deadline to object to the relief requested in the Motion was filed and

served on May 8, 2020 (Docket No. 18).

       3.       The deadline for objections to the relief requested in the Motion to have been

timely filed was June 1, 2020, including an additional 3 days for service by mail.

       4.       No objections were filed, timely or otherwise.

       5.       The relief requested in the Motion should therefore be granted.

       It is therefore ORDERED, ADJUDGED, and DECREED that:

       A.       The automatic stay is hereby modified to allow Creditor to pursue all available

non-bankruptcy remedies against the Property, including Sale of the Property;

       B.       The Property is hereby abandoned pursuant to 11 U.S.C. § 554(b); and

       C.       The fourteen day stay imposed by Rule 4001(a)(3) does not apply.

                                    ### END OF ORDER ###

Submitted by:

Giddens & Gatton Law, P.C.

/s/Christopher M. Gatton,
Submitted electronically 6.2.2020
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Chapter 7 Trustee




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